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                    Exhibit 28
         to Declaration of Rachel Doughty
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 Authorization ID; FCD728501                                                      FS-2700-4 (VER. 03/17)
 Contact ID: NESTLE WATERS NORTH AMERICA, INC.                                          0MB 0596-0082
 Expiration Date: 12/31/2023
 Use Code: 931, 753,715, 915

                                 U.S. DEPARTMENT OF AGRICULTURE
                                          FOREST SERVICE

                                          SPECIAL USE PERMIT

                                    AUTHORITY:
   ORGANIC ADMINISTRATION ACT June 4, 1897, FEDERAL LAND POLICY AND MGMT ACT, AS
                            AMENDED October 21, 1976


NESTLE WATERS NORTH AMERICA, INC. of 5772 JURUPA STREET ATTN: NATURAL RESOURCES
MANAGER, ONTARIO CA UNITED STATES 91761 (hereinafter Mthe holder'') is authorized to use or
occupy National Forest System lands in the SAN BERNARDINO NATIONAL FOREST, subject to the
terms and conditions of this special use permit (the permit).


This permit covers 4.51 acres in Sec. 30, T. 2 N., R. 3 W., SAN BERNARDINO MERIDIAN, Sec. 31, T 2
N., R. 3 W., SAN BERNARDINO MERIDIAN, Sec. 6, T. 1 N., R. 3 W., SAN BERNARDINO MERIDIAN,
SE¼ SE¼ of Sec. 1, T. 1 N., R. 4 W., SAN BERNARDINO MERIDIAN, NE¼ Sec. 12, T. 1 N., R. 4 W.,
SAN BERNARDINO MERIDIAN, Mthe permit area"), as shown on the map attached as Appendix A. This
and any other appendices to this permit are hereby incorporated into this permit.

This permit issued for the purpose of:

Operating and maintaining a water collection and transmission system that consists of tunnels #2 and 3,
horizontal wells 1,1A, 7, 7A, 7B, 7C, 8, 10, 11, 12andtheirassociatedvaults, connectedthrough4.5
miles of 4" pipeline. This permit also authorizes the operation and maintenance of four helicopter landing
areas, 5 monitoring stations with telemetry for data transmission, and 5.7 miles of access trail (4.5 miles
of trail is along the pipeline). This permit also authorizes administrative access along Forest Service road
1N24 and maintenance of said mad commensurate with use.

Occupancy and use is subject to the additional resource mitigation measures, monitoring requirements,
and adaptive management terms and conditions attached hereto and made part hereof as Appendix B.

TERMS AND CONDITIONS

I. GENERAL TERMS

A. AUTHORITY. This permit is issued pursuant to ORGANIC ADMINISTRATION ACT June 4, 1897,
FEDERAL LAND POLICY AND MGMT ACT, AS AMENDED October 21, 1976 and 36 CFR Part 251,
Subpart B, as amended, and is subject to their provisions.

B. AUTHORIZED OFFICER. The authorized officer is the Forest or Grassland Supervisor or a
subordinate officer with delegated authority.

C. TERM. This permit shall expire at midnight on B...!~021 , 3 years from the date of issuance.


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D. CONTINUATION OF USE AND OCCUPANCY. This permit is not renewable. Prior to expiration of
this permit, the holder may apply for a new permit for the use and occupancy authorized by this permit.
Applications for a new permit must be submitted at least 6 months prior to expiration of this permit.
Issuance of a new permit is at the sole discretion of the authorized officer. At a minimum, before issuing
a new permit, the authorized officer shall ensure that (1) the use and occupancy to be authorized by the
new permit is consistent with the standards and guidelines in the applicable land management plan; (2)
the type of use and occupancy to be authorized by the new permit is the same as the type of use and
occupancy authorized by this permit; and (3) the holder is in compliance with all the terms of this permit.
The authorized officer may prescribe new terms and conditions when a new permit is issued.

E. AMENDMENT. This permit may be amended in whole or in part by the Forest Service when, at the
discretion of the authorized officer, such action is deemed necessary or desirable to incorporate new
terms that may be required by law, regulation, directive, the applicable forest land and resource
management plan, or projects and activities implementing a land management plan pursuant to 36 CFR
Part 215.

F. COMPLIANCE WITH LAWS, REGULATIONS, AND OTHER LEGAL REQUIREMENTS. In exercising
the rights and privileges granted by this permit, the holder shall comply with all present and future federal
laws and regulations and all present and future state, county, and municipal laws, regulations, and other
legal requirements that apply to the permit area, to the extent they do not conflict with federal law,
regulation, or policy. The Forest Service assumes no responsibility for enforcing laws, regulations, and
other legal requirements that fall under the jurisdiction of other governmental entities.

G. NON-EXCLUSIVE USE. The use or occupancy authorized by this permit is not exclusive. The Forest
Service reserves the right of access to the permit area, including a continuing right of physical entry to the
permit area for inspection, monitoring, or any other purpose consistent with any right or obligation of the
United States under any law or regulation. The Forest Service reserves the right to allow others to use
the permit area in any way that is not inconsistent with the holder's rights and privileges under this permit.
after consultation with all parties involved. Except for any restrictions that the holder and the authorized
officer agree are necessary to protect the installation and operation of authorized temporary
improvements, the lands and waters covered by this permit shall remain open to the public for all lawful
purposes.

H. ASSIGNABILITY. This permit is not assignable or transferable.

I. TRANSFER OF TITLE TO THE IMPROVEMENTS.

1. Notification of Transfer. The holder shall notify the authorized officer when a transfer of title to all or
part of the authorized improvements is planned.

2. Transfer of Title. Any transfer of title to the improvements covered by this permit shall result in
termination of the permit. The party who acquires title to the improvements must submit an application for
a permit. The Forest Service is not obligated to issue a new permit to the party who acquires title to the
improvements. The authorized officer shall determine that the applicant meets requirements under
applicable federal regulations.

J. CHANGE IN CONTROL OF THE BUSINESS ENTITY.

1. Notification of Change in Control. The holder shall notify the authorized officer when a change in
control of the business entity that holds this permit is contemplated.




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 (a) In the case of a corporation, control is an interest, beneficial or otherwise, of sufficient outstanding
 voting securities or capital of the business so as to permit the exercise of managerial authority over the
 actions and operations of the corporation or election of a majority of the board of directors of the
 corporation.

(b) In the case of a partnership, limited partnership, joint venture, or individual entrepreneurship, control
is a beneficial ownership of or interest in the entity or its capital so as to permit the exercise of managerial
authority over the actions and operations of the entity.

(c) In other circumstances, control is any arrangement under which a third party has the ability to
exercise management authority over the actions or operations of the business.

2. Effect of Change in Control. Any change in control of the business entity as defined in paragraph 1 of
this clause shall result in termination of this permit. The party acquiring control must submit an
application for a special use permit. The Forest Service is not obligated to issue a new permit to the party
who acquires control. The authorized officer shall determine whether the applicant meets the
requirements established by applicable federal regulations.

II. IMPROVEMENTS

A. LIMITATIONS ON USE. Nothing in this permit gives or implies permission to build or maintain any
structure or facility or to conduct any activity, unless specifically authorized by this permit. Any use not
specifically authorized by this permit must be proposed in accordance with 36 CFR 251.54. Approval of
such a proposal through issuance of a new permit or permit amendment is at the sole discretion of the
authorized officer.

B. PLANS. All plans for development, layout, construction, reconstruction, or alteration of improvements
in the permit area, as well as revisions to those plans must be prepared by a professional engineer,
architect, landscape architect, or other qualified professional based on federal employment standards
acceptable to the authorized officer. These plans and plan revisions must have written approval from the
authorized officer before they are implemented. The authorized officer may require the holder to furnish
as-built plans, maps, or surveys upon completion of the work.

C. CONSTRUCTION. Any construction authorized by this permit shall commence by N/A and shall be
completed by N/A.

Ill. OPERATIONS.

A. PERIOD OF USE. Use or occupancy of the permit area shall be exercised at least 365 days each
year.

B. CONDITION OF OPERATIONS. The holder shall maintain the authorized improvements and permit
area to standards of repair, orderliness, neatness, sanitation, and safety acceptable to the authorized
officer and consistent with other provisions of this permit. Standards are subject to periodic change by
the authorized officer when deemed necessary to meet statutory, regulatory, or policy requirements or to
protect national forest resources. The holder shall comply with inspection requirements deemed
appropriate by the authorized officer.

C. OPERATING PLAN. The holder shall prepare and annually revise by May 1st an operating plan. The
operating plan shall be prepared in consultation with the authorized officer or the authorized officer's
designated representative and shall cover all operations authorized by this permit. The operating plan
shall outline steps the holder will take to protect public health and safety and the environment a~

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 include sufficient detail and standards to enable the Forest Service to monitor the holder's operations for
 compliance with the terms and conditions of this permit. The operating plan shall be submitted by the
 holder and approved by the authorized officer or the authorized officer's designated representative prior
 to commencement of operations and shall be attached to this permit as an appendix. The authorized
 officer may require an annual meeting with the holder to discuss the terms and conditions of the permit or
 operating plan, annual use reports, or other concerns either party may have.

 D. MONITORING BY THE FOREST SERVICE. The Forest Service shall monitor the holder's operations
 and reserves the right to inspect the permit area and transmission facilities at any time for compliance
 with the terms of this permit. The holder shall comply with inspection requirements deemed appropriate
 by the authorized officer. The holder's obligations under this permit are not contingent upon any duty of
 the Forest Service to inspect the permit area or transmission facilities. A failure by the Forest Service or
 other governmental officials to inspect is not a justification for noncompliance with any of the terms and
 conditions of this permit.

 IV. RIGHTS AND LIABILITIES

A. LEGAL EFFECT OF THE PERMIT. This permit, which is revocable and terminable, is not a contract
or a lease, but rather a federal license. The benefits and requirements conferred by this authorization are
reviewable solely under the procedures set forth in 36 CFR Part 251. Subpart C, and 5 U.S.C. 704. This
permit does not constitute a contract for purposes of the Contract Disputes Act, 41 U.S.C. 601. The
permit is not real property, does not convey any interest in real property, and may not be used as
collateral for a loan.

B. VALID EXISTING RIGHTS. This permit is subject to all valid existing rights. Valid existing rights
include those derived under mining and mineral leasing laws of the United States. The United States is
not liable to the holder for the exercise of any such right.

C. ABSENCE OF THIRD-PARTY BENEFICIARY RIGHTS. The parties to this permit do not intend to
confer any rights on any third party as a beneficiary under this permit.

D. SERVICES NOT PROVIDED. This permit does not provide for the furnishing of road or trail
maintenance, water, fire protection, search and rescue, or any other such service by a government
agency, utility, association, or individual.

E. RISK OF LOSS. The holder assumes all risk of loss associated with use or occupancy of the permit
area, including but not limited to theft, vandalism, fire and any fire-fighting activities (including prescribed
burns), avalanches, rising waters, winds, falling limbs or trees, and other forces of nature. If authorized
temporary improvements in the permit area are destroyed or substantially damaged, the authorized
officer shall conduct an analysis to determine whether the improvements can be safely occupied in the
future and whether rebuilding should be allowed. If rebuilding is not allowed, the permit shall terminate.

F. DAMAGE TO UNITED STATES PROPERTY. The holder has an affirmative duty to protect from
damage the land, property, and other interests of the United States. Damage includes but is not limited to
fire suppression costs and damage to government-owned improvements covered by this permit.

1. The holder shall be liable for all injury, loss, or damage, including fire suppression, prevention and
control of the spread of invasive species, or other costs in connection with rehabilitation or restoration of
natural resources resulting from the use or occupancy authorized by this permit. Compensation shall
include but not be limited to the value of resources damaged or destroyed, the costs of restoration,
cleanup, or other mitigation, fire suppression or other types of abatement costs, and all administrativ


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legal (including attorney's fees), and other costs. Such costs may be deducted from a performance bond
required under clause IV.J.

2. The holder shall be liable for damage caused by use of the holder or the holder's heirs, assigns,
agents, employees, contractors, or lessees to all roads and trails of the United States to the same extent
as provided under clause IV.F.1, except that liability shall not include reasonable and ordinary wear and
tear.

G. HEALTH AND SAFETY. The holder shall take all measures necessary to protect the health and
safety of all persons affected by the use and occupancy authorized by this permit. The holder shall
promptly abate as completely as possible and in compliance with all applicable laws and regulations any
physical or mechanical procedure, activity, event, or condition existing or occurring in connection with the
authorized use and occupancy during the term of this permit that causes or threatens to cause a hazard
to the health or safety of the public or the holder's employees or agents. The holder shall as soon as
practicable notify the authorized officer of all serious accidents that occur in connection with these
procedures, activities, events, or conditions. The Forest Service has no duty under the terms of this
permit to inspect the permit area or operations of the holder for hazardous conditions or compliance with
health and safety standards.

H. ENVIRONMENTAL PROTECTION

1. For purposes of clause IV.H and section V, "hazardous material" shall mean (a} any hazardous
substance under section 101(14) of the Comprehensive Environmental Response, Compensation, and
Liability Act (CERCLA), 42 U.S.C. 9601 (14}; (b) any pollutant or contaminant under section 101 (33) of
CERCLA, 42 U.S.C. 9601(33); (c) any petroleum product or its derivative, including fuel oil, and waste
oils; and (d} any hazardous substance, extremely hazardous substance, toxic substance, hazardous
waste, ignitable, reactive or corrosive materials, pollutant, contaminant, element, compound, mixture,
solution or substance that may pose a present or potential hazard to human health or the environment
under any applicable environmental laws.

2. The holder shall avoid damaging or contaminating the environment, including but not limited to the
soil, vegetation (such as trees, shrubs, and grass), surface water, and groundwater, during the holder's
use and occupancy of the permit area. Environmental damage includes but is not limited to all costs and
damages associated with or resulting from the release or threatened release of a hazardous material
occurring during or as a result of activities of the holder or the holder's heirs, assigns, agents, employees,
contractors, or lessees on, or related to, the lands, property, and other interests covered by this permit. If
the environment or any government property covered by this permit becomes damaged in connection
with the holder's use and occupancy, the holder shall as soon as practicable repair the damage or replace
the damaged items to the satisfaction of the authorized officer and at no expense to the United States.

3. The holder shall as soon as practicable, as completely as possible, and in compliance with all
applicable laws and regulations abate any physical or mechanical procedure, activity, event, or condition
existing or occurring in connection with the authorized use and occupancy during or after the term of this
permit that causes or threatens to cause harm to the environment, including areas of vegetation or timber,
fish or other wildlife populations, their habitats, or any other natural resources.

I. INDEMNIFICATION OF THE UNITED STATES. The holder shall indemnify, defend, and hold harmless
the United States for any costs, damages, claims, liabilities, and judgments arising from past, present,
and future acts or omissions of the holder in connection with the use or occupancy authorized by this
permit. This indemnification provision includes but is not limited to acts and omissions of the holder or the
holder's heirs, assigns, agents, employees, contractors, or lessees in connection with the use or
occupancy authorized by this permit which result in (1) violations of any laws and regulations whi

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now or which may in the future become applicable; (2) judgments, claims, demands, penalties, or fees
assessed against the United States; (3) costs, expenses, and damages incurred by the United States; or
(4) the release or threatened release of any solid waste, hazardous waste, hazardous materials, pollutant,
contaminant, oil in any form, or petroleum product into the environment. The authorized officer may
prescribe terms that allow the holder to replace, repair, restore, or otherwise undertake necessary
curative actions to mitigate damages in addition to or as an alternative to monetary indemnification.

V. RESOURCE PROTECTION

A. COMPLIANCE WITH ENVIRONMENTAL LAWS. The holder shall in connection with the use or
occupancy authorized by this permit comply with all applicable federal, state, and local environmental
laws and regulations, including but not limited to those established pursuant to the Resource
Conservation and Recovery Act, as amended, 42 U.S.C. 6901 et seq., the Federal Water Pollution
Control Act, as amended, 33 U.S.C. 1251 et seq., the Oil Pollution Act, as amended, 33 U.S.C. 2701 et
seq., the Clean Air Act, as amended, 42 U.S.C. 7401 et seq., CERCLA, as amended, 42 U.S.C. 9601 et
seq., the Toxic Substances Control Act, as amended, 15 U.S.C. 2601 et seq., the Federal Insecticide,
Fungicide, and Rodenticide Act, as amended, 7 U.S.C. 136 et seq., and the Safe Drinking Water Act, as
amended, 42 U.S.C. 300f et seq.

B. VANDALISM. The holder shall take reasonable measures to prevent and discourage vandalism and
disorderly conduct and when necessary shall contact the appropriate law enforcement officer.

C. PESTICIDE USE

1. Authorized Officer Concurrence. Pesticides may not be used outside of buildings in the permit area to
control pests, including undesirable woody and herbaceous vegetation (including aquatic plants), insects,
birds, rodents, or fish without prior written concurrence of the authorized officer. Only those products
registered or otherwise authorized by the U.S. Environmental Protection Agency and appropriate State
authority for the specific purpose planned shall be authorized for use within areas on National Forest
System lands.

2. Pesticide-Use Proposal. Requests for concurrence of any planned uses of pesticides shall be
provided in advance using the Pesticide-Use Proposal (form FS-2100-2). Annually the holder shall, on
the due date established by the authorized officer, submit requests for any new, or continued, pesticide
usage. The Pesticide-Use Proposal shall cover a 12-month period of planned use. The Pesticide-Use
Proposal shall be submitted at least 60 days in advance of pesticide application. Information essential for
review shall be provided in the form specified. Exceptions to this schedule may be allowed, subject to
emergency request and approval, only when unexpected outbreaks of pests require control measures
which were not anticipated at the time a Pesticide-Use Proposal was submitted.

3. Labeling, Laws, and Regulations. Label instructions and all applicable laws and regulations shall be
strictly followed in the application of pesticides and disposal of excess materials and containers. No
pesticide waste, excess materials, or containers shall be disposed of in any area administered by the
Forest Service.

D. ARCHAEOLOGICAL AND PALEONTOLOGICAL DISCOVERIES. The holder shall immediately
notify the authorized officer of all antiquities or other objects of historic or scientific interest, including but
not limited to historic or prehistoric ruins, fossils, or artifacts discovered in connection with the use and
occupancy authorized by this permit. The holder shall follow the applicable inadvertent discovery
protocols for the undertaking provided in an agreement executed pursuant to section 106 of the National
Historic Preservation Act, 54 U.S.C. 306108; if there are no such agreed-upon protocols, the holder hal
leave these discoveries intact and in place until consultation has occurred, as informed, if appli

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any programmatic agreement with tribes. Protective and mitigation measures developed under this
clause shall be the responsibility of the holder. However, the holder shall give the authorized officer
written notice before implementing these measures and shall coordinate with the authorized officer for
proximate and contextual discoveries extending beyond the permit area.

E. NATIVE AMERICAN GRAVES PROTECTION AND REPATRIATION ACT (NAGPRA). In
accordance with 25 U.S.C. 3002(d) and 43 CFR 10.4, if the holder inadvertently discovers human
remains, funerary objects, sacred objects, or objects of cultural patrimony on National Forest System
lands, the holder shall immediately cease work in the area of the discovery and shall make a reasonable
effort to protect and secure the items. The holder shall follow the applicable NAGPRA protocols for the
undertaking provided in the NAGPRA plan of action or the NAGPRA comprehensive agreement; if there
are no such agreed.upon protocols, the holder shall as soon as practicable notify the authorized officer of
the discovery and shall follow up with written confirmation of the discovery. The activity that resulted in
the inadvertent discovery may not resume until 30 days after the forest archaeologist certifies receipt of
the written confirmation, if resumption of the activity is otherwise lawful, or at any time if a binding written
agreement has been executed between the Forest Service and the affiliated Indian tribes that adopts a
recovery plan for the human remains and objects.

F. PROTECTION OF THREATENED AND ENDANGERED SPECIES, SENSITIVE SPECIES, AND
SPECIES OF CONSERVATION CONCERN AND THEIR HABITAT

1. Threatened and Endangered Species and Their Habitat. The location of sites within the permit area
needing special measures for protection of plants or animals listed as threatened or endangered under
the Endangered Species Act (ESA) of 1973, 16 U.S.C. 1531 et seq., as amended, or within designated
critical habitat shall be shown on a map in an appendix to this permit and may be shown on the ground.
The holder shall take any protective and mitigation measures specified by the authorized officer as
necessary and appropriate to avoid or reduce effects on listed species or designated critical habitat
affected by the authorized use and occupancy. Discovery by the holder or the Forest Service of other
sites within the permit area containing threatened or endangered species or designated critical habitat not
shown on the map in the appendix shall be promptly reported to the other party and shall be added to the
map.

2. Sensitive Species and Species of Conservation Concern and Their Habitat. The location of sites
within the permit area needing special measures for protection of plants or animals designated by the
Regional Forester as sensitive species or as species of conservation concern pursuant to FSM 2670 shall
be shown on a map in an appendix to this permit and may be shown on the ground. The holder shall take
any protective and mitigation measures specified by the authorized officer as necessary and appropriate
to avoid or reduce effects on sensitive species or species of conservation concern or their habitat affected
by the authorized use and occupancy. Discovery by the holder or the Forest Service of other sites within
the permit area containing sensitive species or species of conservation concern or their habitat not shown
on the map in the appendix shall be promptly reported to the other party and shall be added to the map.

G. SURVEY AND MANAGE SPECIES AND THEIR HABITAT. The location of sites within the permit
area occupied by survey and manage species or their habitat shall be shown on a map in an appendix to
this permit and may be shown on the ground. The survey and manage species and survey and manage
standards and guidelines were established in the 1994 Northwest Forest Plan amendments to all Forest
Service land and resource management plans in western Oregon and Washington and northern
California, as amended by the January 2001 Record of Decision (2001 ROD). The list of survey and
manage species in the 2001 ROD has been amended and is subject to periodic amendment by the
Forest Service. Per the 2001 ROD, before conducting habitat-disturbing activities in the permit area, the
holder shall perform a survey and shall implement appropriate survey and manage standards and
guidelines identified by the authorized officer to provide for a reasonable assurance of speciesl    d/J
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persistence. Discovery by the holder or the Forest Service of other sites within the permit area containing
survey and manage species or their habitat not shown on the map in the appendix shall be promptly
reported to the other party and shall be added to the map.

H. CONSENT TO STORE HAZARDOUS MATERIALS. The holder shall not store any hazardous
materials at the site without prior written approval from the authorized officer. This approval shall not be
unreasonably withheld. If the authorized officer provides approval, this permit shall include, or in the case
of approval provided after this permit is issued, shall be amended to include specific terms addressing the
storage of hazardous materials, including the specific type of materials to be stored, the volume, the type
of storage, and a spill plan. Such terms shall be proposed by the holder and are subject to approval by
the authorized officer.

1. If the holder receives consent to store hazardous material, the holder shall identify to the Forest
Service any hazardous material to be stored at the site. This identifying information shall be consistent
with column (1) of the table of hazardous materials and special provisions enumerated at 49 CFR
172.101 whenever the hazardous material appears in that table. For hazard communication purposes,
the holder shall maintain Material Safety Data Sheets for any stored hazardous chemicals, consistent with
29 CFR 1910.1200(c) and (g). In addition, all hazardous materials stored by the holder shall be used,
labeled, stored, transported, and disposed of in accordance with all applicable federal, state, and local
laws and regulations.

2. The holder shall not release any hazardous material as defined in clause [IV.H for non-federal
entities/lV.G for federal entities) onto land or into rivers, streams, impoundments, or natural or man-made
channels leading to them. All prudent and safe attempts must be made to contain any release of these
materials. The authorized officer in charge may specify specific conditions that must be met, including
conditions more stringent than federal, state, and local regulations, to prevent releases and protect
natural resources.

 3. If the holder uses or stores hazardous materials at the site, upon revocation or termination of this
permit the holder shall provide the Forest Service with a report certified by a professional or professionals
acceptable to the Forest Service that the permit area is uncontaminated by the presence of hazardous
materials and that there has not been a release or discharge of hazardous materials upon the permit
area, into surface water at or near the permit area, or into groundwater below the permit area during the
term of the permit. If a release or discharge has occurred, the professional or professionals shall
document and certify that the release or discharge has been fully remediated and that the permit area is
in compliance with all applicable federal, state, and local laws and regulations.

I. CLEANUP AND REMEDIATION

1. The holder shall immediately notify all appropriate response authorities, including the National
Response Center and the authorized officer or the authorized officer's designated representative, of any
oil discharge or of the release of a hazardous material in the permit area in an amount greater than or
equal to its reportable quantity, in accordance with 33 CFR Part 153, Subpart B, and 40 CFR Part 302.
For the purposes of this requirement, "oil" is as defined by section 311 (a)(1) of the Clean Water Act, 33
U.S.C. 1321(a)(1). The holder shall immediately notify the authorized officer or the authorized officer's
designated representative of any release or threatened release of any hazardous material in or near the
permit area which may be harmful to public health or welfare or which may adversely affect natural
resources on federal lands.

2. Except with respect to any federally permitted release as that term is defined under Section 101(10)
of CERCLA, 42 U.S.C. 9601(10), the holder shall clean up or otherwise remediate any release, thre of
release, or discharge of hazardous materials that occurs either in the permit area or in conne tio ·t

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 the holder's activities in the permit area, regardless of whether those activities are authorized under this
 permit. The holder shall perform cleanup or remediation immediately upon discovery of the release,
 threat of release, or discharge of hazardous materials. The holder shall perform the cleanup or
 remediation to the satisfaction of the authorized officer and at no expense to the United States. Upon
 revocation or termination of this permit, the holder shall deliver the site to the Forest Service free and
 clear of contamination.

 VI. LAND USE FEE AND DEBT COLLECTION

 A. LAND USE FEES. The holder shall pay an initial annual land use fee of $2059.04 for the period from
 01/01/2018 to 12/31/2018, and thereafter on January 1, 2019 shall pay an annual land use fee of
 $2102.25. The annual land use fee shall be adjusted annually using the implicit price deflater-gross
 national product (I PD-GNP) index as shown in the Linear Right Of Way (LROW) fee schedule.

 B. MODIFICATION OF THE LAND USE FEE. The land use fee may be revised whenever necessary to
 reflect the market value of the authorized use or occupancy or when the fee system used to calculate the
 land use fee is modified or replaced.

 C. FEE PAYMENT ISSUES.

 1. Crediting of Payments. Payments shall be credited on the date received by the deposit facility, except
 that if a payment is received on a non-workday, the payment shall not be credited until the next workday.

 2. Disputed Fees. Fees are due and payable by the due date. Disputed fees must be paid in full.
 Adjustments will be made if dictated by an administrative appeal decision, a court decision, or settlement
 terms.

 3. Late Payments

 (a) Interest. Pursuant to 31 U.S.C. 3717 et seq., interest shall be charged on any fee amount not paid
 within 30 days from the date it became due. The rate of interest assessed shall be the higher of the
 Prompt Payment Act rate or the rate of the current value of funds to the United States Treasury (i.e., the
 Treasury tax and loan account rate), as prescribed and published annually or quarterly by the Secretary
 of the Treasury in the Federal Register and the Treasury Fiscal Requirements Manual Bulletins. Interest
 on the principal shall accrue from the date the fee amount is due.

 (b) Administrative Costs. If the account becomes delinquent, administrative costs to cover processing
 and handling the delinquency shall be assessed.

(c) Penalties. A penalty of 6% per annum shall be assessed on the total amount that is more than 90
days delinquent and shall accrue from the same date on which interest charges begin to accrue.

(d) Termination for Nonpayment. This permit shall terminate without the necessity of prior notice and
opportunity to comply when any permit fee payment is 90 calendar days from the due date in arrears.
The holder shall remain responsible for the delinquent fees.

4. Administrative Offset and Credit Reporting. Delinquent fees and other charges associated with the
permit shall be subject to all rights and remedies afforded the United States pursuant to 31 U.S.C. 3711
et seq. and common law. Delinquencies are subject to any or all of the following:

(a) Administrative offset of payments due the holder from the Forest Service.


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 (b) If in excess of 60 days, referral to the United States Department of the Treasury for appropriate
 collection action as provided by 31 u.s.c. 3711(g)(1).

 (c) Offset by the Secretary of the Treasury of any amount due the holder, as provided by 31 u.s.c. 3720
 et seq.

 (d) Disclosure to consumer or commercial credit reporting agencies.

 VII. REVOCATION. SUSPENSION. AND TERMINATION

 A. REVOCATION AND SUSPENSION. The authorized officer may revoke or suspend this permit in
 whole or in part:

 1. For noncompliance with federal, state, or local law.

 2. For noncompliance with the terms of this permit.

 3. For abandonment or other failure of the holder to exercise the privileges granted.

 4. With the consent of the holder.

 5. For specific and compelling reasons in the public interest.

 Prior to revocation or suspension, other than immediate suspension under clause VI.B, the authorized
 officer shall give the holder written notice of the grounds for revocation or suspension and a reasonable
 period, typically not to exceed 90 days, to cure any noncompliance.

 B. IMMEDIATE SUSPENSION. The authorized officer may immediately suspend this permit in whole or
 in part when necessary to protect public health or safety or the environment. The suspension decision
 shall be in writing. The holder may request an on-site review with the authorized officer's supervisor of
 the adverse conditions prompting the suspension. The authorized officer's supervisor shall grant this
 request within 48 hours. Following the on-site review, the authorized officer's supervisor shall promptly
 affirm, modify, or cancel the suspension.

C. APPEALS AND REMEDIES. Written decisions by the authorized officer relating to administration of
this permit are subject to administrative appeal pursuant to 36 CFR Part 214, as amended. Revocation or
suspension of this permit shall not give rise to any claim for damages by the holder against the Forest
Service.

D. TERMINATION. This permit shall terminate when by its terms a fixed or agreed upon condition, event,
or time occurs without any action by the authorized officer. Examples include but are not limited to
expiration of the permit by its terms on a specified date and termination upon change of control of the
business entity. Termination of this permit shall not require notice, a decision document, or any
environmental analysis or other documentation. Termination of this permit is not subject to administrative
appeal and shall not give rise to any claim for damages by the holder against the Forest Service.

E. RIGHTS AND RESPONSIBILITIES UPON REVOCATION OR TERMINATION WITHOUT ISSUANCE
OF A NEW PERMIT. Upon revocation or termination of this permit without issuance of a new permit, the
holder shall remove all structures and improvements, except those owned by the United States, within a
reasonable period prescribed by the authorized officer and shall restore the site to the satisfaction of the
authorized officer. If the holder fails to remove all structures and improvements within the prescribed
period, they shall become the property of the United States and may be sold, destroyed, or otherwi

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 disposed of without any liability to the United States. However, the holder shall remain liable for all costs
 associated with their removal, including costs of sale and impoundment, cleanup, and restoration of the
 site.

 VIII. MISCELLANEOUS PROVISIONS

 A. MEMBERS OF CONGRESS. No member of or delegate to Congress or resident commissioner shall
 benefit from this permit either directly or indirectly, except to the extent the authorized use provides a
 general benefit to a corporation.

 B. CURRENT ADDRESSES. The holder and the Forest Service shall keep each other informed of
 current mailing addresses, including those necessary for billing and payment of land use fees.

 C. SUPERSEDED PERMIT. This permit supersedes a special use permit designated ARROWHEAD MT.
 SPRING WATER co., CAJ728501, dated 08/02/1978.

 D. SUPERIOR CLAUSES. If there is a conflict between any of the preceding printed clauses and any of
 the following clauses, the preceding printed clauses shall control.

 E. NOXIOUS WEEDS (R5-D9). The permit holder shall prepare, in cooperation with the Forest Service, a
 noxious weed plan for surveying, preventing, reporting, controlling and monitoring noxious weed
 populations on the authorized areas and within the holder's area of responsibility. These measures may
 include, where appropriate, equipment inspection for soil, seeds, and vegetative matter, equipment
 cleaning, and use of weed-free materials (soil, gravel, straw, mulch) and seed mixes. A current list of
 noxious weeds of concern is available at the Forest Supervisor's Office.

 F. GROUND SURFACE PROTECTION AND RESTORATION (D-9).

The holder shall prevent and control soil erosion and gullying on National Forest System lands in and
adjacent to the permit area resulting from construction, operation, maintenance, and termination of the
authorized use. The holder shall construct authorized improvements so as to avoid accumulation of
excessive amounts of water in the permit area and encroachment on streams. The holder shall
revegetate or otherwise stabilize (for example, by constructing a retaining wall) all ground where the soil
has been exposed as a result of the holder's construction, maintenance, operation, or termination of the
authorized use.

G. WATER WELLS AND ASSOCIATED PIPELINES (D-23).

1. State and Local Documentation for Water Wells. The holder shall obtain all required State and local
water permits, licenses, registrations, certificates, and rights for existing and proposed water wells and
shall provide a copy of this documentation to the Authorized Officer. For proposed water well
construction, development or redevelopment, this documentation shall be provided prior to
commencement of work.

2. Water Well Construction and Development. For water well construction and development (or
redevelopment), the holder shall prepare a well construction and development plan and submit it to the
Authorized Officer for approval. The well construction and development plan must have written approval
from the Authorized Officer before well construction or development commences. The holder shall follow
applicable Federal, State, and local standards for design, construction, and development of new wells or
redevelopment of existing wells. If these standards do not exist, the holder shall follow applicable
standards issued by the American Society for Testing and Materials (ASTM), American Water Works
Association (AWWA), or National Ground Water Association (NGWA). The construction and
development plan must identify all potential sources for any proposed water injection during well


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 construction and development. Only non-chlorinated, potable water may be injected during construction
 and development of wells that will be used for monitoring or water withdrawal. Copies of all
 documentation for drilling, constructing, or developing wells, including all drilling, boring, and well
 construction or development logs, shall be provided to the Authorized Officer within 60 days of completion
 of work.

 3. Water Conservation Plan. For new or redeveloped wells, as part of a well development plan, the
 holder shall prepare and submit for written approval by the Authorized Officer a water conservation plan
 utilizing appropriate strategies to limit the amount of water removed from National Forest System lands.

 4. Water Well Decommissioning. The holder shall properly decommission and abandon all water wells
 that are no longer needed or maintained in accordance with applicable Federal, State, and local
 standards for water well abandonment. If these standards do not exist, the holder shall follow applicable
 standards issued by the ASTM, AWWA, or NGWA. At least 30 days prior to initiation of well
 decommissioning, the holder shall submit a well decommissioning plan to the Authorized Officer. The
 well decommissioning plan must have written approval from the Authorized Officer before well
 decommissioning commences. All documentation of well decommissioning shall be provided to the
 Authorized Officer within 60 days of completion of the work.

 H. WATER FACILITIES AND WATER RIGHTS (D-25).

 This permit does not confer any water rights on the holder. Any necessary water rights must be acquired
 by the holder in accordance with State law. Any expenses for acquiring water rights shall be the
 responsibility of the holder. The United States reserves the right to place any conditions on installation,
 operation, maintenance, and removal of facilities to pump, divert, store, or convey water on National
 Forest System lands covered by this permit that are necessary to protect public property, public safety,
 and natural resources on National Forest System lands in compliance with applicable law. The holder
 waives any claims against the United States for compensation in connection with imposition of any
 conditions on installation, operation, maintenance, and removal of water facilities under this permit.

 I. FIRE-CONTROL PLAN (F-20).

 The holder shall prepare a fire plan for approval by the Authorized Officer which shall set forth in detail
 the plan for prevention, reporting, control, and extinguishing of fires on the authorized areas and within
 the holder's area of responsibility defined on an attached map. Such plans shall be reviewed and revised
 at intervals of not more than three (3) years.

J. IMPROVEMENT RELOCATION (X-33).

This authorization is granted with the express understanding that should future location of United States
Government-owned improvements or road rights-of-way require the relocation of the holder's
improvements, such relocation will be done by, and at the expense of, the holder within a reasonable time
as specified by the Authorized Officer.

K. COMMUNICATION SITE - EQUIPMENT INTERFACE (X-51).

The holder shall ensure that the holder's equipment operates in a manner which will not cause harmful
interference with the operation of existing equipment at or adjacent to the communications site identified
in this permit. If the Authorized Officer or authorized FCC official determines that the holder's use
interferes with existing equipment, the holder shall promptly take the necessary steps to eliminate or
reduce the harmful interference to the satisfaction of the Authorized Officer or FCC official.

L. ROAD MAINTENANCE (From FS-7700-41). When maintenance is performed, it shall be conducte
accordance with the following requirements and the requirements in Appendices C and D:

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      1. The holder shall perfonn maintenance on the roads authorized by this pennit that is necessary to
         protect and repair the roadbed, road surface, and associated transportation facilities.

      2. If other commercial users are operating on the roads authorized by this permit, the holder and
           those commercial users shall enter into an agreement for performance of maintenance on these
           roads. If conflicts arise regarding responsibility for the maintenance, commercial use on these
           roads shall cease until the conflicts are resolved.


 THIS PERMIT IS ACCEPTED SUBJECT TO ALL ITS TERMS AND CONDITIONS.

 BEFORE ANY PERMIT IS ISSUED TO AN ENTITY, DOCUMENTATION MUST BE PROVIDED TO THE
 AUTHORIZED OFFICER OF THE AUTHORITY OF THE SIGNATORY FOR THE ENTITY TO BIND IT
 TO THE TERMS AND CONDITIONS OF THE PERMIT.

 ACCEPTED:




                                                URCES MANAGER                       SIGNATURE
                                               , INC.


 APPROVED:




 Jo  h Rechsteiner, District Ranger                                          SIGNATURE
 US A, SAN BERNARDINO NATIONAL FOREST

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